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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK


 CRYSTAL MONTGOMERY,

                                       Plaintiff,                  23 Civ. 9201 (PAE) (OTW)
                        -v-
                                                                      OPINION & ORDER
 NEW YORK PRESBYTERIAN HOSPITAL,

                                       Defendant.


PAUL A. ENGELMAYER, District Judge:

       Plaintiff Crystal Montgomery,pro se, filed this action against her former employer,

defendant New York Presbyterian Hospital ("NYPH"). Dkt. 1 ("Complaint" or "Comp!.").

Montgomery brings a religious discrimination claim under Title VII of the Civil Rights Act of

1964, 42 U.S.C. § 2000e et seq.

       On January 12, 2024, NYPH moved to dismiss the Complaint under Federal Rule of Civil

Procedure 12(b)(6). Dkt. 17 (the "motion to dismiss"). On January 16, 2024, the Court referred

NYPH's motion to dismiss to United States Magistrate Judge Ona T. Wang. Dkt. 21.

       On August 13, 2024, Judge Wang issued a Report and Recommendation to this Court.

See Dkt. 30 (the "Report"). The Report recommended that the Court grant NYPH's motion to

dismiss. It stated that "[t]he parties shall have fourteen (14) days (including weekends and

holidays) from service of this Report and Recommendation to file written objections pursuant to

28 U.S.C. § 636(b)(l) and Rule 72(b) of the Federal Rules of Civil Procedure." Id. at 15. Thus,

the deadline to file any objections was August 27, 2024.

       On September 4, 2024, with no timely objections having been filed, the Court issued a

decision in which it adopted the Report's recommendation in its entirety. Dkt. 31. On
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September 12, 2024, however, the Court was notified by the District's office of prose litigation

that Montgomery, on September 3, 2024, had filed with that office a three-page document styled

as a "Report and Recommendation." Dkt. 33 ("Montgomery Objection"). Montgomery appears

to have formatted her submission to resemble a judicial opinion and (falsely) identifies herself as

a "United States Magistrate Judge." Id. at 1. Her submission concludes with a

"recommendation" to this Court that the motion to dismiss be denied. Id. at 3. On September

20, 2024, NYPH responded to the submission, "[o Jut of an abundance of caution." Dkt. 34 at 1.

       Liberally construing Montgomery's submission as her objection to the Report, the Court

has considered the entire record de nova. Having done so, the Court agrees with Judge Wang's

Report and adopts its recommendation.

I.      Discussion

        After a magistrate judge has issued a Report and Recommendation, a district court may

"accept, reject, or modify, in whole or in part, the findings or recommendations made by the

magistrate judge." 28 U.S.C. § 636(b)(l). To accept the portions of a report to which no timely

objection has been made, "a district court need only satisfy itself that there is no clear error on

the face of the record." Acevedo v. Lempke, No. 10 Civ. 5285 (PAE) (HBP), 2014 WL 4651904,

at *3 (S.D.N.Y. Sept. 17, 2014) (quoting King v. Greiner, No. 2 Civ. 5810, 2009 WL 2001439,

at *4 (S.D.N.Y. July 8, 2009)). A prose plaintiffs objections "must be construed liberally and

interpreted to raise the strongest arguments that they suggest." Triestman v. Fed. Bureau of

Prisons, 470 F.3d 471,474 (2d Cir. 2006) (cleaned up). When a timely and specific objection

has been made, the court is obligated to review the contested issues de nova. See Fed. R. Civ. P.

72(b)(3); Triestman, 470 F.3d at 474; Hynes v. Squillace, 143 F.3d 653,656 (2d Cir. 1998).




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       Montgomery appears to object to the Report's recommendation that the motion to dismiss

be granted. See Montgomery Objection at 3 ("I respectfully recommend that the defendant's

motion not be granted" (capitalization altered)). Because Montgomery is proceeding prose, the

Court liberally construes her objection "to raise the strongest arguments [it] suggest[ s]."

Publicola v. Lomenzo, 54 F.4th 108, 111 (2d Cir. 2022) (quoting McLeod v. Jewish Guild for the

Blind, 864 F.3d 154, 156 (2d Cir. 2017)).

        So construed, Montgomery's objection appears to simply regurgitate the Complaint's

allegations that "her faith prohibits vaccines" and that she regards the COVID-19 and influenza

vaccines as "bio-weapons." Montgomery Objection at 2. It neither mentions the Rep01t nor

disputes any of the Report's findings or conclusions. Courts in this Circuit have routinely held

that "a party fails to properly object if she makes only conclusory or general objections, or

simply reiterates her original arguments," and reviewed the underlying Report and

Recommendation for clear etTor. Ramgoolie v. Ramgoolie, No. 22-1409, 2024 WL 4429420, at

*2 (2d Cir. Oct. 7, 2024) (sunrmarizing rule); see also, e.g., Miller v. Brightstar Asia, Ltd., 43

F.4th 112, 120 (2d Cir. 2022) (noting district court's reliance on the "rule" that "when the party

makes only conclusory or general objections, or simply reiterates his original arguments, the

district court reviews the Report and Recommendation only for clear error" (quoting Thomas v.

Astrue, 674 F. Supp. 2d 507,511 (S.D.N.Y. 2009))); Edwards v. Fischer, 414 F. Supp. 2d 342,

346--47 (S.D.N.Y. 2006) (applying clear error standard to "merely perfunctory responses ...

argued in an attempt to engage the district court in a rehashing of the same arguments set forth in

the original petition"); Silva v. Peninsula Hotel, 509 F. Supp. 2d 364,366 (S.D.N.Y. 2007)

(similar). Such is the case here. And there is no facial error in the Report's findings and

conclusion.



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       Even were the Report reviewed de nova, Montgomery's objection is meritless for

multiple independent reasons. First, the Complaint's allegations that Montgomery suffered an

adverse physiological and psychological reaction to the COVID-19 vaccine and that she opposes

vaccination are insufficient to sustain a claim of religious discrimination. See Comp!. at 5, 8.

That is so because, inter alia, the limited facts pied do not remotely support an inference that

NYPH's denial of Montgomery's request for a blanket exemption from the New York State

COVID-19 vaccine mandate was motivated by her religion. See, e.g., Vega v. Hempstead Union

Free Sch. Dist., 801 F. 3d 72, 86 (2d Cir. 2015) ("[T]o defeat a motion to dismiss or a motion for

judgment on the pleadings in a Title VII discrimination case, a plaintiff must plausibly allege that

(1) the employer took adverse action against him, and (2) his race, color, religion, sex, or

national origin was a motivating factor in the employment decision."); see also We the Patriots

USA, Inc. v. Hochul, 17 F.4th 266,290 (2d Cir. 2021). Second, even had the Complaint

adequately pied the elements of a religious discrimination claim under Title VII-and it did

not-Montgomery's failure to exhaust is independently fatal to her claim. As the Second Circuit

has explained, "[e]xhaustion of administrative remedies through the EEOC is 'an essential

element"' of Title VII's statutory scheme. Legnani v. Alitalia Linee Aeree Italiane, SP.A., 274

F.3d 683,686 (2d Cir. 2001) (quoting Francis v. City ofNew York, 235 F.3d 763, 768 (2d Cir.

2000)); see 42 U.S.C. § 2000e-5(e), (f). Consequently, it is "a precondition to filing a Title VII

claim in federal court" that a plaintiff "first pursue available administrative remedies and file a

timely complaint with the EEOC." Hardaway v. Hartford Pub. Works Dep 't, 879 F.3d 486, 489

(2d Cir. 2018) (quoting Deravin v. Kerik, 335 F.3d 195,200 (2d Cir. 2003)). "An employment

discrimination claim must be filed with the EEOC within 300 days of the alleged discrimination

in a state, like New York, with a fair employment agency." Buon v. Spindler, 65 F.4th 64, 77 (2d



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Cir. 2023). Here, Montgomery did not file a timely administrative charge or plead circumstances

warranting equitable tolling. See Report at 9 ("[S]he did not file a charge with the EEOC until

July 5, 2023-700 days after the alleged misconduct and 400 days past the statutory deadline.");

Dkt. 18 at 8 (NYPH's motion to dismiss raising exhaustion argument); see also, e.g., Patterson

v. County of Oneida, 375 F.3d 206,220 (2d Cir. 2004) ("[Title VII] 'precludes recovery for

discrete acts of discrimination or retaliation that occur outside the statutory time period[.]"'

(quoting Nat'/ R.R. Passenger Corp. v. Morgan, 536 U.S. 101, 114 (2002))); Johnson v.

Wendy's Corp., 2021 WL 243055, at *4 (S.D.N.Y. Jan. 25, 2021) ("[F]ailure to file a timely

administrative charge acts as a bar to a federal action.").

        Therefore, notwithstanding the conclusory and general character of Montgomery's

objections, the Court has considered the record de nova and agrees with the Report's conclusion.

                                          CONCLUSION

        Accordingly, the Court grants NYPH's motion to dismiss the Complaint, which is hereby

dismissed with prejudice.

        The Court respectfully directs the Clerk of the Court to mail a copy of this decision to

Montgomery at the address on file, and to close all pending motions.

        SO ORDERED.




                                                               Paul~~e~~y~
                                                               United States District Judge


Dated: January 17, 2025
       New York, New York




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